                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 JESSE PIERCE and MICHAEL PIERCE,                  )
 on behalf of themselves and all others            )
 similarly situated,                               )
                                                   )
                Plaintiffs,                        )
                                                   )
 v.                                                )           No. 3:13-CV-641-DCP
                                                   )
 WYNDHAM VACATION RESORTS, INC.,                   )
 And WYNDHAM VACATION                              )
 OWNERSHIP, INC.,                                  )
                                                   )
                Defendants.                        )

                                               ORDER

        This case is before the undersigned pursuant to 28 U.S.C. § 636(c), Rule 73(b) of the

 Federal Rules of Civil Procedure, and the consent of the parties, for all further proceedings,

 including entry of judgment [Doc. 193].

        The parties appeared before the Court via telephone on July 11, 2019, for a status

 conference. Attorneys Autumn Gentry, Reid Estes, and Martin Holmes appeared on behalf of

 Plaintiffs. Attorney William Anthony appeared on behalf of Defendants. By way of background,

 the parties filed a Status Report [Doc. 464], stating that they disagree about the impact of the Sixth

 Circuit’s Opinion as it relates to Discovery Representatives. With respect to Front Line and In

 House Sales Representatives, the parties agree that the Court can reassess damages owed to the

 collective action based on the current record. Further, in the Joint Status Report, the parties

 submitted a briefing schedule with respect to awarding damages for the Front Line and In House

 Sales Representatives. The Status Report states that the parties disagree as to whether Defendants

 should be permitted to file a motion for summary judgment against three opt-in plaintiffs based on

 judicial estoppel. Finally, the parties agree that a ruling on Plaintiffs’ Motion for Attorney’s Fees

 is premature at this time.

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         During the status conference, the parties generally explained their respective positions with

 respect to how the Court should proceed with the claims of the Discovery Sales Representatives.

 The Court instructed the parties to include this issue in their briefs. In addition, the Court instructed

 the parties to include in their briefs whether Defendants should be permitted to seek summary

 judgment against three opt-in plaintiffs who allegedly failed to disclose their Fair Labor Standards

 claim during bankruptcy proceedings. Finally, during the status conference, the Court proposed

 that Plaintiffs’ Motion for Attorney’s Fees [Doc. 431 ] be denied without prejudice until the above

 matters are ruled on. The parties did not object to the Court’s proposal.

         Accordingly, the Court hereby ORDERS as follows:

                 1. The parties’ opening briefs SHALL be filed on or before
                    August 23, 2019. The opening briefs SHALL include
                    argument, citation to legal authority, and citation to the evidence
                    on the following issues: (i) reassessing damages owed to the
                    collective class of Front Line and In House Sales
                    Representatives; (ii) how the Discovery Representatives’ claims
                    should be adjudicated given the Sixth Circuit’s Opinion, and (iii)
                    whether Defendants should be permitted to raise judicial
                    estoppel at this stage of the litigation;

                 2. Responses to the opening briefs SHALL be filed on or before
                    September 20, 2019;

                 3. Reply briefs SHALL be filed on or before October 4, 2019;

                 4. Plaintiffs’ Motion for Attorney’s Fees and Costs [Doc. 431],
                    Defendants’ Motion to Quash Subpoenas [Doc. 447], and
                    Plaintiffs’ Motion for Leave to File Supplemental Brief [Doc.
                    455] are DENIED WITHOUT PREJUIDCE. The Court will
                    enter a briefing schedule relating to attorney’s fees once the
                    above issues are adjudicated.

         IT IS SO ORDERED

                                                         ENTER:

                                                         _____________________
                                                         Debra C. Poplin
                                                         United States Magistrate Judge


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